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1                   IN THE UNITED STATES DISTRICT COURT

2                    FOR THE SOUTHERN DISTRICT OF TEXAS

3                             HOUSTON DIVISION

4    BURKE, ET AL                      §     CASE NO. 4:18-CV-4544
                                       §     HOUSTON, TEXAS
5    VERSUS                            §     WEDNESDAY,
                                       §     FEBRUARY 6, 2019
6    OCWEN LOAN SERVICING, LLC         §     2:01 P.M. TO 2:04 P.M.

7
                             INITIAL CONFERENCE
8
                      BEFORE THE HONORABLE PETER BRAY
9                     UNITED STATES MAGISTRATE JUDGE

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11

12   APPEARANCES:                            SEE NEXT PAGE

13   ELECTRONIC RECORDING OFFICER:           S. SHELBY

14   CASE MANAGER:                           JASON MARCHAND

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1                               APPEARANCES:

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7    FOR THE DEFENDANT:                HOPKINS LAW, PLLC
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1       HOUSTON, TEXAS; WEDNESDAY, FEBRUARY 6, 2019; 2:01 P.M.

2               THE COURT:     I'm going to call the next case, which

3    18-4544, and this is Joanna and John Burke versus Ocwen Loan

4    Servicing and again, you are Joanna and John Burke, and say

5    your name again, sir?

6               MR. HOPKINS:     Good afternoon, Your Honor.       Mark

7    Hopkins here on behalf of Ocwen Loan Servicing.

8               THE COURT:     All right.     So these are the same

9    dates, so I'm just going to read them a little faster this

10   time, okay?

11              So new parties and amendments to pleadings are due

12   by March 29th.    Plaintiffs' experts designation is due by

13   April 30th.     Defendant's by May 31st.     Discovery cutoff is

14   October 31st.     Motions are due November 29th.        The Joint

15   Pretrial Order is due February 28th and the trial term is

16   March/April 2020.

17              All right?     And what's the estimated time of trial

18   in this case?    Again, two days?

19              MR. HEARNE:    Your Honor, half a day for our side

20   at most.

21              THE COURT:     And a day?

22              MR. BURKE:     Yeah, a day.

23              THE COURT:     I'm just going to call it two days,

24   and you've requested a jury; is that right?         Have they?

25              I can't remember.




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1              MR. BURKE:     Yes.

2              MR. HOPKINS:     I believe they did.

3              THE COURT:     On both?     You have, okay, fine.

4              Is there anything else I can do for you in this

5    case?

6              MR. BURKE:     Thank you.

7              THE COURT:     You won't see me again unless Judge

8    Hittner refers motions to me.       Do you understand that?

9              MR. BURKE:     Okay, Your Honor.

10             MS. BURKE:     Thank you.     Thank you so much.

11             THE COURT:     All right.     Good luck.

12             MR. HOPKINS:     May I be excused?

13             THE COURT:     Yes.   You may.

14             MS. BURKE:     Thank you.

15       (Proceedings adjourned at 2:04 p.m.)

16                                * * * * *

17              I certify that the foregoing is a correct

18   transcript to the best of my ability produced from the

19   electronic sound recording of the proceedings in the above-

20   entitled matter.

21   /S/ MARY D. HENRY
22   CERTIFIED BY THE AMERICAN ASSOCIATION OF

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